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  9                        UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  10
  11 MARIANO BENITEZ                              Case No.: 8:19−cv−00098−JLS−DFM

  12                                              INITIAL STANDING ORDER FOR
                      Plaintiff(s),               CIVIL CASES ASSIGNED TO
  13                                              JUDGE JOSEPHINE L. STATON
              v.
  14
       POWERLINE FUNDING, LLC
  15
  16                 Defendant(s).
  17
  18
  19    PLEASE READ THIS ORDER CAREFULLY. IT GOVERNS THIS CASE
  20    AND DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.
  21          This case has been assigned to the calendar of Judge Josephine L. Staton. Both
  22    the Court and counsel bear responsibility for the progress of this litigation in federal
  23    court. To “secure the just, speedy, and inexpensive determination” of this case, as

  24    called for in Federal Rule of Civil Procedure 1, all parties or their counsel are

  25    ordered to become familiar with the Federal Rules of Civil Procedure, the Local

  26    Rules of the Central District of California, and this Court’s Orders.

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       THE COURT ORDERS AS FOLLOWS:
  2         Judge Staton’s Procedures web page is incorporated in this Order.
  3         The parties and counsel are ORDERED to review and comply with those
  4    procedures and notices, which may be accessed at:

  5                  http://www.cacd.uscourts.gov/honorable-josephine-l-staton
  6    1.   Filing of Civil Cases
  7         The initiating documents (e.g., complaints and notices of removal) of most
  8    civil cases must be e-filed. See Local Rule 3-2.
  9    2.   Service of the Complaint
  10        Service is governed by Federal Rule of Civil Procedure 4. The plaintiff shall
  11   promptly serve the complaint in accordance with Fed. R. Civ. P. 4 and file the
  12   proofs of service. Although Fed. R. Civ. P. 4(m) allows 90 days for service of the

  13   summons and complaint, the Court expects service to be effectuated more promptly.
  14   The Court will require plaintiffs to show good cause to extend the service deadline
  15   beyond 90 days.
  16   3.   TROs and Injunctions
  17        Parties seeking emergency or provisional relief shall comply with Fed. R. Civ.

  18   P. 65 and Local Rule 65. The Court will not rule on any application for such relief

  19   for at least twenty-four (24) hours after the party subject to the requested order

  20   has been served, unless service is excused. Such party may file opposing or
  21   responding papers in the interim.
  22   4.   Cases Removed from State Court
  23        All documents filed in state court, including documents appended to the
  24   complaint, answers, and motions, must be refiled in this Court as a supplement

  25   to the notice of removal. See 28 U.S.C. § 1447(b). If the defendant has not yet

  26   answered or filed a pre-answer motion, the defendant’s answer or motion must
  27   be filed in this Court and must comply with the Federal Rules of Civil Procedure
  28   and the Local Rules. If a motion was pending in state court before the case was

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       removed, it must be re-noticed for hearing in accordance with Local Rule 6-1.
  2    Counsel shall file with their first appearance a Notice of Interested Parties in
  3    accordance with Local Rule 7.1-1.
  4         If the complaint, answer, or any similar pleading in an action that is removed

  5    to this Court consists of only a form pleading in which boxes are checked, the party
  6    or parties utilizing the form pleading must file an appropriate pleading with this
  7    Court within thirty (30) days of the filing of the Notice of Removal. The new
  8    pleading must comply with the requirements of Federal Rules of Civil Procedure
  9    7 through 11.
  10   5.   Status of Fictitiously Named Defendants
  11        This Court intends to adhere to the following procedures where a matter is
  12   removed to this Court on diversity grounds with fictitiously named defendants.

  13   See 28 U.S.C. §§ 1441(b)(1) and 1447.
  14        a.   Plaintiff is normally expected to ascertain the identity of and serve any
  15   fictitiously named defendants within 90 days of the removal of the action to this
  16   Court.
  17        b.   If plaintiff believes (by reason of the necessity for discovery or

  18   otherwise) that fictitiously named defendants cannot be fully identified within

  19   the 90-day period, an ex parte application or stipulation requesting permission

  20   to extend that period to effectuate service may be filed with the Court. Such
  21   application or stipulation shall state the reasons therefor, and will be granted only
  22   upon a showing of good cause. An ex parte application seeking such relief shall
  23   be served upon all appearing parties, and shall state that appearing parties may
  24   comment within seven (7) days of the filing of the ex parte application.

  25        c.   If plaintiff wants to substitute a defendant for one of the fictitiously

  26   named defendants, plaintiff shall first seek the consent of counsel for all defendants
  27   (and counsel for the fictitiously named party, if that party has separate counsel).
  28   If consent is withheld or denied, plaintiff should file a motion on regular notice.

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        The motion and opposition should address whether the matter should thereafter
  2     be remanded to the superior court if diversity of citizenship is destroyed by the
  3     addition of the newly substituted party. See U.S.C. § 1447(c), (d).
  4     6.   Discovery

  5          a.   Discovery Matters Referred to Magistrate Judge
  6          All discovery matters have been referred to the assigned United States
  7     Magistrate Judge, who will hear all discovery disputes. Any party may move for
  8     review and reconsideration of a discovery ruling within fourteen days after such
  9     ruling. See Local Rule 72-2. However, in accordance with 28 U.S.C. § 636(b)
  10    (1)(A), the Court will not reverse any order of the Magistrate Judge unless the
  11    moving party demonstrates that the ruling is clearly erroneous or contrary to law.
  12    The motion must specify which portions of the ruling are clearly erroneous or

  13    contrary to law and support the contention with points and authorities. As to all
  14    filings related to motions for review and reconsideration of a discovery order,
  15    counsel shall deliver mandatory chambers copies to both the District Judge and
  16    the Magistrate Judge.
  17         b.   Compliance with Fed. R. Civ. P. 26(a)

  18         The parties shall comply fully with the letter and spirit of Fed. R. Civ. P. 26(a).

  19    The Court’s Scheduling Order will impose firm deadlines to complete discovery.

  20    7.   Applications to Seal
  21         Counsel are directed to consider carefully whether to seek leave to file
  22    documents under seal. The procedure for obtaining leave is lengthy. Applications
  23    must in all instances be supported by good cause, and at times are subjected to an
  24    even higher standard. Most of the time, documents may not be filed under seal

  25    in their entirety, and appropriately redacted documents must still be filed on the

  26    public docket.
  27         When seeking leave to file any material under seal in a civil case, the parties
  28    and counsel are directed to fully comply with all steps of the multi-step procedure

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        set forth in Local Rule 79-5. The parties are directed to carefully review the
  2     Court’s Local Rule 79-5 Overview and to follow the instructions in the Guide to
  3     Electronically Filing Under-Seal Documents in Civil Cases, both of which are
  4     attached in PDF format to Judge Staton’s Procedures web page.

  5           Counsel are reminded that there is a strong presumption that the public has
  6     a right of access to records in civil cases. For materials related to non-dispositive
  7     motions, the Designating Party must show good cause for the materials to be
  8     filed and maintained under seal. For materials related to dispositive motions, the
  9     standard is higher, and the Designating Party must articulate compelling reasons
  10    for maintaining the confidentiality of the document(s) and must seek relief that is
  11    narrowly tailored to the protected interest. See Pintos v. Pacific Creditors Ass’n,
  12    605 F.3d 665, 667-79 (9th Cir. 2010).

  13    8.    Motions
  14          a.   Time for Filing and Hearing Motions
  15          Motions shall be filed in accordance with Local Rule 7. This Court hears
  16    motions on Fridays, beginning at 10:30 a.m. It is not necessary to clear a hearing
  17    date with the Court Clerk before filing a motion in a civil motion. Counsel

  18    must check the Court’s website for Closed Motion Dates.

  19          b.   Pre-Filing Requirement To Meet and Confer

  20          Counsel must comply with Local Rule 7-3, which requires counsel to
  21    engage in a pre-filing conference “to discuss thoroughly . . . the substance of the
  22    contemplated motion and any potential resolution.” Counsel should discuss the
  23    issues to a sufficient degree that if a motion is still necessary, the briefing may
  24    be directed to those substantive issues requiring resolution by the Court. Counsel

  25    should resolve minor procedural or other non-substantive matters during the

  26    conference. This provision applies even to self-represented parties; there is no
  27    exception to this rule for parties who appear pro se.
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            c.   Supporting Evidence
  2         Parties shall not proffer evidence other than the specific items of evidence
  3    testimony in support of or in opposition to a motion. For example, the parties
  4    should provide excerpts rather than entire deposition transcripts or entire sets

  5    of interrogatory responses. Where a motion must be supported by admissible
  6    evidence, authenticity must be established by stipulation of the parties, declaration,
  7    or other appropriate means.
  8         d.   Citations to Legal Authority
  9         Citations to legal authority should include pinpoint citations to specific
  10   page(s), section(s), and subsection(s) referenced. Citations to secondary sources
  11   such as treatises, manuals, and other materials should include the volume, section,
  12   and page(s) cited.

  13   9.   Specific Motions
  14        a.   Motions Pursuant to Rule 12
  15        Many motions to dismiss or to strike can be avoided if the parties confer in
  16   good faith (as required by Local Rule 7-3), especially for pleading deficiencies
  17   that could be corrected by amendment. See Chang v. Chen, 80 F.3d 1293, 1296

  18   (9th Cir. 1996) (where a motion to dismiss is granted, a district court should

  19   provide leave to amend unless it is clear that the complaint could not be saved by

  20   any amendment). Moreover, a party has the right to amend the complaint “once
  21   as a matter of course” within 21 days after service of the answer or Rule 12(b)
  22   motion. Fed. R. Civ. P. 15(a)(1)(A)-(B).
  23        b.   Motions to Amend
  24        In addition to meeting the requirements of Local Rule 15-1, counsel shall

  25   attach as an appendix to the moving papers a “redlined” version of the proposed

  26   amended pleading indicating all additions and deletions of material. All motions
  27   to amend pleadings shall: (1) state the effect of the amendment and (2) identify
  28   the page and line number(s) and wording of any proposed change or addition

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       of material. The proposed amended pleading shall be serially numbered to
  2    differentiate it from previously amended pleadings (e.g., “Second Amended
  3    Complaint” or “Third Amended Answer and Counterclaims”). If leave to amend
  4    is granted, the filing party must comply with Local Rule 15-1 through 15-3 in filing

  5    the amended pleading.
  6         c.   Summary Judgment Motions
  7         A party may file only one summary judgment motion in a case. Parties need
  8    not wait until the motion cutoff date to bring motions for summary judgment or
  9    partial summary judgment. The parties should prepare papers in a fashion that will
  10   assist the Court in absorbing the facts (e.g., generous use of tabs, tables of contents,
  11   headings, indices, etc.).
  12             i.       Statements of Uncontroverted Facts and Genuine Issues

  13        The Statement of Uncontroverted Facts and Conclusions of Law (“Statement
  14   of Uncontroverted Facts”), as required by Local Rule 56-1 shall be formatted based
  15   on the following example:
  16    1. (Moving party’s first uncontroverted           (Supporting evidence
           fact)                                          citation(s))
  17
        2. (Moving party’s second undisputed              (Supporting evidence
  18       fact)                                          citation(s))

  19        The opposing party’s Statement of Genuine Disputes of Material Fact

  20   (required by Local Rule 56-2) must be in two columns and track the movant’s
  21   Statement of Uncontroverted Facts exactly as prepared, but must combine the

  22   moving party’s fact statements and the supporting evidence into one column.

  23   Thus, the first column must restate the allegedly undisputed fact and the alleged
  24   supporting evidence, and the second column must state either that the fact
  25   proffered by the moving party is undisputed or disputed. The opposing party may
  26   dispute all or only a portion of the statement, but if disputing only a portion, it

  27   must clearly indicate what part is being disputed. Whenever all or part of a

  28   proffered fact is disputed, the opposing party must briefly state why it disputes

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       the moving party’s proffered fact, cite to the relevant exhibit(s) or other evidence,
  2    and must describe what it is in that exhibit or evidence that refutes the proffered
  3    fact. To illustrate:
  4     1. (Moving party’s first uncontroverted         1. Undisputed.
        fact). (Supporting evidence citation(s)).
  5     2. (Moving party’s second undisputed            2. Disputed. Plaintiff’s Rule
        fact). (Supporting evidence citation(s)).       30(b)(6) witness testified to the
  6                                                     contrary. (Pltf’s Ex. 14, Clark
                                                        Depo. at 24:5-26:17.)
  7
  8         The opposing party may submit additional material facts that bear on or relate
  9    to the issues raised by the movant. Presentation of those additional material facts
  10   by the non-moving party shall follow the format described above for the moving
  11   party’s Statement of Uncontroverted Facts. These additional facts shall continue
  12   in sequentially numbered paragraphs and shall set forth in the right hand column
  13   the evidence that supports that statement. A Reply fact statement may be filed by
  14   the moving party.
  15        No legal argument should be set forth in the Statement of Uncontroverted

  16   Facts or the Statement of Genuine Disputes of Material Fact. Legal argument
  17   should be reserved for the parties’ briefs. Objections and the relevant Federal
  18   Rule of Evidence or other basis therefor may be noted, but citations to case law
  19   and/or legal argument should be presented in the separate document described
  20   below.
  21              ii.     Objections to Evidence
  22        If a party relies in whole or in part on an evidentiary objection to dispute

  23   a material fact, the ground(s) of the objection(s) shall be succinctly stated in a

  24   separate statement of evidentiary objections in a two-column format. The left
  25   column should identify and describe the item(s) objected to (including page and
  26   line number if applicable) and the right column should set forth a concise objection
  27   (e.g., hearsay, lacks foundation, etc.) with a citation to the Federal Rules of

  28   Evidence or, where applicable, a case citation. Any response to the objections shall

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        incorporate and build upon the two-column format set forth in the objections in the
  2     same manner as the Statement of Genuine Disputes of Material Fact incorporates
  3     and builds upon the Statement of Uncontroverted Facts.
  4            The Court will expressly rule on objections only when it deems it necessary

  5     to do. Generally, the Court will expressly rule on objections only as to evidence
  6     that factors into the Court’s rationale for its rulings.
  7            d.   Daubert Motions
  8            Unlike other motions in limine, Daubert motions are usually due to be filed
  9     within seven days after the expert discovery cut-off date set in the Scheduling
  10    Order.1 The parties shall notice Daubert motions for hearing on the first available
  11    motions date at the time of their filing, unless that date is after the final pretrial
  12    conference date, in which case the Daubert motions will be heard at the final

  13    pretrial conference.
  14    10. Notice of This Order
  15           Plaintiff’s counsel or plaintiff (if appearing on his or her own behalf) shall
  16    immediately serve this Order on all parties, including any new parties to the action.
  17    If this case was removed from state court, the removing defendant(s) shall serve

  18    this Order on all other parties.

  19
              IT IS SO ORDERED.
  20
       Dated: January 22, 2019                         JOSEPHINE L. STATON
  21
                                                       United States District Judge
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  23    Revised: October 1, 2018
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          1   In some instances, a later date may be set.
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